                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


GUILLAUME NGALAMULUME
and GUILLAUME NGALAMULUME, A/G/O
C.N.,
                                                          Case No.: 8:19-CV-2443-T-60AEP
                            Plaintiffs,
                                                          CIVIL ACTION
            vs.

TIMOTHY SHEEHY,

                    Defendant.
_________________________________________/


                                    ANSWER TO COMPLAINT

       Defendant, TIMOTHY SHEEHY, by his attorneys, KMA ZUCKERT, LLC, as and for

his Answer to the Complaint herein alleges, upon information and belief, as follows:

       1.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “1” of the Complaint.

       2.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “2” of the Complaint.

       3.         Defendant denies the allegations asserted in Paragraph “3” of the Complaint.

       4.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “4” of the Complaint.

       5.         Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “5” of the Complaint, except admits that the crash

which is the subject of the Complaint occurred in Winter Haven, Polk County, Florida.




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       6.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “6” of the Complaint.

       7.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “7” of the Complaint.

       8.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “8” of the Complaint, except admits that the STOL

Aircraft Corp UC-1 amphibious airplane bearing FAA registration number: N65NE crashed into

a residential home in Winter Haven, Florida on February 23, 2019, at approximately 12:43

Eastern Standard Time.

       9.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “9”.

       10.     (a) Defendant denies knowledge or information sufficient to form a belief as to

               the truth of the allegations asserted in Paragraph “10a.” of the Complaint, except

               admits he had more than 800 total hours of flight experience at the time of the

               accident.

               (b) Defendant denies knowledge or information sufficient to form a belief as to

               the truth of the allegations asserted in Paragraph “10b.” of the Complaint, except

               admits he holds a commercial pilot certification with ratings for airplane single

               engine land, airplane single engine sea.

               (c) Defendant admits the allegations asserted in Paragraph “10c.” of the

               Complaint.

               (d) Defendant admits the allegations asserted in Paragraph “10d.” of the

               Complaint.



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                (e) Defendant denies knowledge or information sufficient to form a belief as to

                the truth of the allegations asserted in Paragraph “10e.” of the Complaint, except

                admits he holds a flight instructor certification with a rating for single engine

                aircraft that is valid only when accompanied by a pilot certificate number.

        11.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “11” of the Complaint, except admits that James

Wagner was a flight instructor and held a flight instructor certification with ratings for the

subject aircraft.

            AS AND FOR THE ALLEGED NEGLIGENCE – COUNT I
   AGAINST DEFENDANT ESTATE OF JAMES WAGNER AS TO PLAINTIFF C.N.

        12.     Defendant repeats, reiterates and realleges each and every denial asserted in his

Answer to Paragraphs “1” through and including “11” of the Complaint with the same force and

effect as if set forth at length herein.

        13.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraphs “13a.” through and including “13d.” of the

Complaint.

        14.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraphs “14a.” through and including “14e.” of the

Complaint.

        15.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “15” of the Complaint.

     AS AND FOR THE ALLEGED PRESUMPTIVE SETTLEMENT AGREEMENT

        Defendant denies knowledge or information sufficient to form a belief as to the truth of

the allegations asserted in the Paragraph Entitled “Presumptive Settlement Agreement” following

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Count I of the Complaint, except admits that Plaintiff C.N. executed a Release Agreement

releasing, acquitting and forever discharging Defendant James Wagner from, inter alia, all

claims arising out of the subject accident, and Defendant respectfully refers the Court to the

provisions of the entire executed Release Agreement.

                 AS AND FOR THE ALLEGED NEGLIGENCE – COUNT II
                  AGAINST TIMOTHY SHEEHY AS TO PLAINTIFF C.N.

        16.      Defendant repeats, reiterates and realleges each and every denial asserted in his

Answer to Paragraphs “1” through and including “15” of the Complaint with the same force and

effect as if set forth at length herein.

        17.      Defendant denies the allegations asserted in Paragraphs “17(a)” through and

including “17(d)” of the Complaint, and respectfully refers all legal questions to the Court for

determination.

        18.      Defendant denies the allegations asserted in Paragraphs “18(a)” through and

including “18(e)” of the Complaint, and respectfully refers all legal questions to the Court for

determination.

        19.      Defendant denies the allegations asserted in Paragraph “19” of the Complaint, and

respectfully refers all legal questions to the Court for determination.

                 AS AND FOR THE ALLEGED NEGLIGENCE – COUNT III
                  AGAINST DEFENDANT ESTATE OF JAMES WAGNOR
                    AS TO PLAINTIFF GUILLAUME NGALAMULUME
        20.      Defendant repeats, reiterates and realleges each and every denial asserted in his

Answer to Paragraphs “1” through and including “19” of the Complaint with the same force and

effect as if set forth at length herein.




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        21.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraphs “21(a)” through and including “21(d) of the

Complaint.

        22.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “22(a)” through and including “22(e)” of the

Complaint.

        23.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “23” of the Complaint.

         AS AND FOR THE ALLEGED PRESUMPTIVE SETTLEMENT AGREEMENT

        Defendant denies knowledge or information sufficient to form a belief as to the truth of

the allegations asserted in the Paragraph Entitled “Presumptive Settlement Agreement” following

Count III of the Complaint, except admits that Plaintiff Guillaume Ngalamulume executed a

Release Agreement releasing, acquitting and forever discharging Defendant Estate of James

Wagner from, inter alia, all claims arising out of the subject accident, and Defendant respectfully

refers the Court to the provisions of the entire executed Release Agreement.

                 AS AND FOR THE ALLEGED NEGLIGENCE – COUNT IV
                       AGAINST DEFENDANT TIMOTHY SHEEHY
                    AS TO PLAINTIFF GUILLAUME NGALAMULUME

        24.      Defendant repeats, reiterates and realleges each and every denial asserted in his

Answer to Paragraphs “1” through and including “23” of the Complaint with the same force and

effect as if set forth at length herein.

        25.      Defendant denies allegations asserted in Paragraphs “25(a)” through and

including “25d” of the Complaint, and respectfully refers all legal questions to the Court for

determination.



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        26.      Defendant denies the allegations asserted in Paragraphs “26(a)” through and

including “26(e)” of the Complaint, and respectfully refers all legal questions to the Court for

determination.

        27.      Defendant denies the allegations asserted in Paragraph “27” of the Complaint, and

respectfully refers all legal question to the Court for determination.

                  AS AND FOR THE ALLEGED NEGLIGENCE – COUNT V
                      AGAINST MES RATING AS TO PLAINTIFF C.N.

        28.      Defendant repeats, reiterates and realleges each and every denial asserted in his

Answer to Paragraphs “1” through and including “27” of the Complaint with the same force and

effect as if set forth at length herein.

        29.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraphs “29(a)” through and including “29(d) of the

Complaint.

        30.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “30(a)” through and including “30(e)” of the

Complaint.

        31.      Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “31” of the Complaint.

         AS AND FOR THE ALLEGED PRESUMPTIVE SETTLEMENT AGREEMENT

Defendant denies knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in the Paragraph Entitled “Presumptive Settlement Agreement” following

Count V of the Complaint, except admits that Plaintiff C.N. executed a Release Agreement

releasing, acquitting and forever discharging Defendant MES RATING from, inter alia, all




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claims arising out of the subject accident, and Defendant respectfully refers the Court to the

provisions of the entire executed Release Agreement.

       AS AND FOR THE ALLEGED NEGLIGENCE – COUNT VI AGAINST
   DEFENDANT MES RATING AS TO PLAINTIFF GUILLAUME NGALAMULUME

        32.     Defendant repeats, reiterates, and realleges each and every denial asserted in his

Answer to Paragraphs “1” through and including “31” of the Complaint with the same force and

effect as if set forth at length herein.

        33.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraphs “33(a)” through and including “33(d) of the

Complaint.

        34.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “34(a)” through and including “34(e)” of the

Complaint.

        35.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “35” of the Complaint.

         AS AND FOR THE ALLEGED PRESUMPTIVE SETTLEMENT AGREEMENT

        Defendant denies knowledge or information sufficient to form a belief as to the truth of

the allegations asserted in the Paragraph Entitled “Presumptive Settlement Agreement” following

Count VI of the Complaint, except admits that Plaintiff Guillaume Ngalamulume executed a

Release Agreement releasing, acquitting and forever discharging Defendant MES RATING

from, inter alia, all claims arising out of the subject accident, and Defendant respectfully refers

the Court to the provisions of the entire executed Release Agreement.

         AS AND FOR THE ALLEGED NEGLIGENCE – COUNT VII AGAINST
             DEFENDANT ESP AVIATION, LLC AS TO PLAINTIFF C.N.



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        36.     Defendant repeats, reiterates and realleges each and every denial asserted in its

Answer to Paragraphs “1 through and including “35” of the Complaint with the same force and

effect as if set forth at length herein.

        37.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraphs “37(a)” through and including “37(d) of the

Complaint.

        38.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “38(a)” through and including “38(e)” of the

Complaint.

        39.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “39” of the Complaint.

         AS AND FOR THE ALLEGED PRESUMPTIVE SETTLEMENT AGREEMENT

        Defendant denies knowledge or information sufficient to form a belief as to the truth of

the allegations asserted in the Paragraph Entitled “Presumptive Settlement Agreement” following

Count VII of the Complaint, except admits that Plaintiff C.N. executed a Release Agreement

releasing, acquitting and forever discharging Defendant ESP AVIATION, LLC from, inter alia,

all claims arising out of the subject accident, and Defendant respectfully refers the Court to the

provisions of the entire executed Release Agreement.

        AS AND FOR THE ALLEGED NEGLIGENCE – COUNT VIII AGAINST
       ESP AVIATION, INC. AS TO PLAINTFF GUILLAUME NGALAMULUME
       40.  Defendant repeats, reiterates and realleges each and every denial asserted in his

Answer to Paragraphs “1” through and including “39” of the Complaint with the same force and

effect as if set forth at length herein.




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       41.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraphs “41(a)” through and including “41(d) of the

Complaint.

       42.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “42(a)” through and including “42(e)” of the

Complaint.

       43.     Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in Paragraph “43” of the Complaint.

        AS AND FOR THE ALLEGED PRESUMPTIVE SETTLEMENT AGREEMENT

       Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations asserted in the Paragraph Entitled “Presumptive Settlement Agreement”

following Count VIII of the Complaint, except admits that Plaintiff Guillaume Ngalamulume

executed a Release Agreement releasing, acquitting and forever discharging Defendant ESP

Aviation from, inter alia, all claims arising out of the subject accident, and Defendant

respectfully refers the Court to the provisions of the entire executed Release Agreement.



                                 AFFIRMATIVE DEFENSES

                    AS AND FOR A FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ Complaint fails to state a claim against Defendant, Timothy Sheehy, upon

which relief can be granted.

                   AS AND FOR A SECOND AFFIRMATIVE DEFENSE

       At the time of the subject accident, Defendant, Timothy Sheehy, was a student pilot

receiving flight instruction and training from James Wagner—the certified flight instruction and



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pilot-in-command of the subject aircraft—in connection with obtaining a multi-engine sea rating,

a type rating Defendant, Timothy Sheehy, did not yet hold. Therefore, Defendant, Timothy

Sheehy, was not the pilot in command as defined under 14 C.F.R. § 1.1 and, pursuant to 14

C.F.R. § 91.3, did not have responsibility or authority as to the operation of the subject aircraft at

the time of the subject accident.

                     AS AND FOR A THIRD AFFIRMATIVE DEFENSE

       To the extent Plaintiffs claim to have suffered any injuries and/or damages as a result of

the alleged incident forming the basis of the Complaint, Plaintiffs failed to mitigate their

respective damages and, as such, if Plaintiffs are entitled to any relief against Defendant, which

Defendant specifically and expressly denies, Plaintiffs are barred in whole or in part from

recovery.

                   AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

       As a further and separate Affirmative Defense, to the extent any payments are made to

Plaintiffs or made on Plaintiffs’ behalf pursuant to: The United States Social Security Act; any

federal, state, or local income disability act; or any other public programs providing medical

expenses, disability payments, or other similar benefits, except those prohibited by federal law

and those expressly excluded by law as collateral sources; any health, sickness, or income

disability insurance; automobile accident insurance that provides health benefits or income

disability coverage; and any other similar insurance benefits; any contract or agreement of any

group, organization, partnership, or corporation to provide, pay for, or reimburse the costs of

hospital, medical, dental, or other health care services; and/or any contractual or voluntary wage

continuation plan provided by employers or by any other system intended to provide wages

during a period of disability for the claims asserted by Plaintiff herein, then, pursuant to the



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provisions of Florida Statute § 768.76, the amount of damages awarded to the Plaintiffs shall be

reduced by the total amount of said collateral sources of indemnity or benefit which are available

to the Plaintiff.

                     AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

        As a further and separate Affirmative Defense, Defendant affirmatively alleges that the

provisions of Florida Statute § 768.81(3) and (5)(a) apply to the claims made against Defendant

in the Complaint.

                     AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

        As a further and separate Affirmative Defense, Defendant affirmatively alleges that the

provisions of Florida Statute § 768.81(3) apply to the claims made against Defendant in the

Complaint.

                    AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

        As a further and separate Affirmative Defense, Defendant states that, if Plaintiffs were

injured or damaged as alleged in the Complaint, such injuries and damages were caused in whole

or in part by: (a) the pilot-in-command and certified flight instructor of the subject flight, James

Wagner, (b) owner of ESP Aviation, LLC, Richard Rowe; (c) the registered owner and operator

of the subject aircraft and flight school, ESP Aviation, LLC; and/or (d) MES Rating. James

Wagner, as the pilot-in-command and certified flight instructor holding, inter alia, a flight

instructor certificate with ratings for the subject multi-engine aircraft, was directly responsible

for and was the final authority as to the operation of the subject aircraft pursuant to 14 C.F.R. §

91.3; and, thus, owed a duty to exercise such care in the operation of the subject aircraft and

flight instruction of Defendant, Timothy Sheehy, as the exigency of the circumstances

reasonably required. James Wagner’s breach of his duty and negligence include, inter alia, (a)



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failure to properly operate the subject aircraft; (b) failure to properly instruct Defendant, Timothy

Sheehy; (c) failure to utilize industry-standard methods in the operation of the subject aircraft

flight instruction; (d) failure to utilize industry-standard methods in flight instruction; (e)

violations of Federal Aviation Regulations, including, but not limited to: 14 C.F.R. § 91.3 and 14

C.F.R. § 91.13; (f) failure to properly launch and implement the procedure and maneuver—a

“departure stall”—for which James Wagner was providing Defendant, Timothy Sheehy, flight

instruction at the time of the subject accident; all of which, individually or collectively, were a

proximate and/or intervening cause of the damages and/or injuries sustained to Plaintiffs.

Richard Rowe and ESP Aviation, LLC, as the registered owner and operator of the subject

aircraft and flight school are vicariously liable for the negligent acts and omissions of their

employee, James Wagner and negligently retained and hired James Wagner to operate the

subject aircraft as the pilot-in-command and as a certified flight instructor. James Wagner,

Richard Rowe, ESP Aviation, LLC and MES Rating are, therefore, liable and shall be included

on the verdict sheet in order for their respective percentages of fault to be apportioned in

accordance with Florida Statutes § 768.81 and under the authority of Fabre v. Marin, 623 So.2d

1182 (Fla. 1993); Allied-Signal, Inc. v. Fox, 623 So.2d 1180 (Fla. 1993); and Nash v. Wells

Fargo Guard Services, Inc., 678 So.2d 1262 (Fla. 1996).

                    AS AND FOR A NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ state law causes of action are barred and/or preempted by federal law,

including the Federal Aviation Act, and/or applicable statutes and regulations.

       WHEREFORE, Defendant Timothy Sheehy demands Judgment dismissing Plaintiffs’

Complaint in its entirety with prejudice, together with costs and disbursements of this action, and

such other and further relief in favor of Timothy Sheehy as the Court deems just and proper.



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Dated: October 9, 2019

                                              KMA ZUCKERT LLC

                                             /s/ Nicholas E. Pantelopoulos
                                             ______________________________________
                                         By: Nicholas E. Pantelopoulos (FBN 103751)
                                             355 Alhambra Circle, Suite 1201
                                             Coral Gables, Florida 33134
                                             Telephone: (305) 506-2052
                                             Facsimile: (305) 675-7606
                                             Email: nep@kmazuckert.com


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 9, 2019, the foregoing document was

electronically filed with the clerk of the Court using CM/ECF. I also certify that the foregoing

document is being served this day on Plaintiffs’ counsel, Joseph J. Hovsepian, Esq., at:

joe@brookslawgroup.com of Brooks Law Group P.A., 123 First Street North, Winter Haven, FL

33881, counsel for Plaintiffs, either via e-mail, transmission of Notices of Electronic Filing

generated by CM/ECF or in some other authorized manner for those counsel or parties who are

not authorized to receive electronically Notices of Electronic Filing.



                                                     /s/ Nicholas E. Pantelopoulos
                                              By: ________________________________
                                                     Nicholas E. Pantelopoulos




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